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                                                 US v Nihad Al Jaberi
                                                     Discovery 1
Discovery from BIS
Name
ROI 2 Search Warrant Cumming GA(1).pdf
MCP 782035-20-0041 Initial Operation Concealed Carry 20201005.pdf


Discovery from BIS\Search warrants\SDGA search warrants\2
Name
Mo to Seal.pdf
Order to Seal.pdf
App.pdf
Warrant.pdf


Discovery from BIS\Search warrants\SDGA search warrants\1
Name
Warrant.pdf
Order.pdf
App.pdf
motion.pdf


Discovery from BIS\Search warrants\SDGA search warrants\3
Name
Warrant.pdf
Application.pdf
Mo Sea;l.pdf
Order to Seal.pdf


Discovery from BIS\Search warrants\NDGA search warrants\NDGA SW
Name
Sealed-2020.10.01-App&Warrant&Motion&Order-120mc1786.pdf
Sealed-2020.10.01-App&Warrant&Motion&Order-120mc1788.pdf
20mc22 Order to Seal.pdf
20mc22 Search Warrant.pdf
Search Warrant Return 1 20-MC-1786.pdf
Search Warrant Return 1 20-MC-1788.pdf


Discovery from BIS\Search warrants\NDGA search warrants\Photos 770 Jolly Ave
Name
041A3374.JPG                 041A3362.JPG                  041A3420.JPG   041A3456.JPG   041A3410.JPG
041A3402.JPG                 041A3413.JPG                  041A3387.JPG   041A3447.JPG   041A3366.JPG
041A3373.JPG                 041A3365.JPG                  041A3380.JPG   041A3440.JPG   041A3417.JPG
041A3405.JPG                 041A3461.JPG                  041A3427.JPG   041A3395.JPG   041A3361.JPG
041A3430.JPG                 041A3398.JPG                  041A3455.JPG   041A3432.JPG   041A3419.JPG
041A3397.JPG                 041A3443.JPG                  041A3429.JPG   041A3449.JPG   041A3465.JPG
041A3390.JPG                 041A3444.JPG                  041A3389.JPG   041A3435.JPG   041A3462.JPG
041A3437.JPG                 041A3438.JPG                  041A3452.JPG   041A3392.JPG   041A3368.JPG
041A3445.JPG                 041A3436.JPG                  041A3463.JPG   041A3376.JPG   041A3379.JPG
041A3439.JPG                 041A3391.JPG                  041A3369.JPG   041A3400.JPG   041A3408.JPG
041A3399.JPG                 041A3396.JPG                  041A3418.JPG   041A3371.JPG   041A3370.JPG
041A3442.JPG                 041A3431.JPG                  041A3464.JPG   041A3407.JPG   041A3406.JPG
041A3388.JPG                 041A3372.JPG                  041A3416.JPG   041A3409.JPG   041A3377.JPG
041A3453.JPG                 041A3404.JPG                  041A3411.JPG   041A3378.JPG   041A3401.JPG
041A3454.JPG                 041A3375.JPG                  041A3367.JPG   041A3457.JPG   041A3448.JPG
041A3428.JPG                 041A3403.JPG                  041A3458.JPG   041A3450.JPG   041A3393.JPG
041A3426.JPG                 041A3460.JPG                  041A3383.JPG   041A3385.JPG   041A3434.JPG
041A3381.JPG                 041A3412.JPG                  041A3424.JPG   041A3422.JPG   041A3433.JPG
041A3386.JPG                 041A3364.JPG                  041A3423.JPG   041A3459.JPG   041A3394.JPG
041A3421.JPG                 041A3415.JPG                  041A3384.JPG   041A3425.JPG   041A3441.JPG
041A3414.JPG                 041A3363.JPG                  041A3451.JPG   041A3382.JPG   041A3446.JPG
        Case 4:21-cr-00031-RSB-CLR Document 26-1 Filed 04/09/21 Page 2 of 5




Discovery from BIS\Search warrants\NDGA search warrants\Photos 5310 Harris
Creek
Name                        DSC_1507.JPG                    DSC_1422.JPG   DSC_1477.JPG   DSC_1484.JPG
DSC_1447.JPG                DSC_1509.JPG                    DSC_1506.JPG   DSC_1470.JPG   DSC_1455.JPG
DSC_1496.JPG                DSC_1480.JPG                    DSC_1501.JPG   DSC_1402.JPG   DSC_1429.JPG
DSC_1440.JPG                DSC_1451.JPG                    DSC_1488.JPG   DSC_1405.JPG   DSC_1483.JPG
DSC_1491.JPG                DSC_1487.JPG                    DSC_1459.JPG   DSC_1479.JPG   DSC_1452.JPG
DSC_1432.JPG                DSC_1456.JPG                    DSC_1425.JPG   DSC_1397.JPG   DSC_1398.JPG
DSC_1449.JPG                DSC_1473.JPG                    DSC_1410.JPG   DSC_1430.JPG   DSC_1443.JPG
DSC_1498.JPG                DSC_1408.JPG                    DSC_1417.JPG   DSC_1514.JPG   DSC_1492.JPG
DSC_1511.JPG                DSC_1474.JPG                    DSC_1419.JPG   DSC_1513.JPG   DSC_1444.JPG
DSC_1435.JPG                DSC_1406.JPG                    DSC_1465.JPG   DSC_1437.JPG   DSC_1495.JPG
DSC_1400.JPG                DSC_1401.JPG                    DSC_1462.JPG   DSC_1445.JPG   DSC_1438.JPG
DSC_1407.JPG                DSC_1448.JPG                    DSC_1482.JPG   DSC_1494.JPG   DSC_1512.JPG
DSC_1409.JPG                DSC_1499.JPG                    DSC_1453.JPG   DSC_1439.JPG   DSC_1436.JPG
DSC_1475.JPG                DSC_1510.JPG                    DSC_1485.JPG   DSC_1399.JPG   DSC_1431.JPG
DSC_1472.JPG                DSC_1434.JPG                    DSC_1454.JPG   DSC_1442.JPG   DSC_1396.JPG
DSC_1463.JPG                DSC_1433.JPG                    DSC_1428.JPG   DSC_1493.JPG   DSC_1515.JPG
DSC_1418.JPG                DSC_1441.JPG                    DSC_1502.JPG   DSC_1467.JPG   DSC_1404.JPG
DSC_1464.JPG                DSC_1490.JPG                    DSC_1426.JPG   DSC_1460.JPG   DSC_1478.JPG
DSC_1416.JPG                DSC_1446.JPG                    DSC_1421.JPG   DSC_1412.JPG   DSC_1403.JPG
DSC_1411.JPG                DSC_1497.JPG                    DSC_1505.JPG   DSC_1415.JPG   DSC_1471.JPG
DSC_1500.JPG                DSC_1486.JPG                    DSC_1414.JPG   DSC_1469.JPG   DSC_1476.JPG
DSC_1489.JPG                DSC_1457.JPG                    DSC_1468.JPG   DSC_1420.JPG
DSC_1458.JPG                DSC_1508.JPG                    DSC_1413.JPG   DSC_1504.JPG
DSC_1424.JPG                DSC_1481.JPG                    DSC_1461.JPG   DSC_1503.JPG
DSC_1423.JPG                DSC_1450.JPG                    DSC_1466.JPG   DSC_1427.JPG


Discovery from BIS\Search warrants\NDGA search warrants\Photos E Ponce de
Leon Ave Apt E2
Name
IMG_0907.JPG                IMG_0847.JPG                    IMG_0787.JPG   IMG_0870.JPG   IMG_0768.JPG
IMG_0797.JPG                IMG_0750.JPG                    IMG_0833.JPG   IMG_0877.JPG   IMG_0871.JPG
IMG_0823.JPG                IMG_0781.JPG                    IMG_0751.JPG   IMG_0879.JPG   IMG_0838.JPG
IMG_0790.JPG                IMG_0835.JPG                    IMG_0780.JPG   IMG_0805.JPG   IMG_0895.JPG
IMG_0824.JPG                IMG_0911.JPG                    IMG_0834.JPG   IMG_0760.JPG   IMG_0844.JPG
IMG_0858.JPG                IMG_0898.JPG                    IMG_0910.JPG   IMG_0802.JPG   IMG_0892.JPG
IMG_0889.JPG                IMG_0849.JPG                    IMG_0899.JPG   IMG_0767.JPG   IMG_0843.JPG
IMG_0900.JPG                IMG_0757.JPG                    IMG_0848.JPG   IMG_0776.JPG   IMG_0754.JPG
IMG_0856.JPG                IMG_0786.JPG                    IMG_0897.JPG   IMG_0813.JPG   IMG_0831.JPG
IMG_0887.JPG                IMG_0832.JPG                    IMG_0846.JPG   IMG_0868.JPG   IMG_0785.JPG
IMG_0851.JPG                IMG_0772.JPG                    IMG_0890.JPG   IMG_0771.JPG   IMG_0753.JPG
IMG_0880.JPG                IMG_0817.JPG                    IMG_0841.JPG   IMG_0814.JPG   IMG_0836.JPG
IMG_0909.JPG                IMG_0775.JPG                    IMG_0758.JPG   IMG_0866.JPG   IMG_0782.JPG
IMG_0799.JPG                IMG_0810.JPG                    IMG_0789.JPG   IMG_0778.JPG   IMG_0827.JPG
IMG_0864.JPG                IMG_0862.JPG                    IMG_0874.JPG   IMG_0861.JPG   IMG_0793.JPG
IMG_0818.JPG                IMG_0865.JPG                    IMG_0808.JPG   IMG_0828.JPG   IMG_0903.JPG
IMG_0863.JPG                IMG_0819.JPG                    IMG_0873.JPG   IMG_0854.JPG   IMG_0904.JPG
IMG_0774.JPG                IMG_0850.JPG                    IMG_0801.JPG   IMG_0885.JPG   IMG_0820.JPG
IMG_0811.JPG                IMG_0881.JPG                    IMG_0764.JPG   IMG_0853.JPG   IMG_0794.JPG
IMG_0773.JPG                IMG_0908.JPG                    IMG_0806.JPG   IMG_0882.JPG   IMG_0852.JPG
IMG_0816.JPG                IMG_0798.JPG                    IMG_0763.JPG   desktop.ini    IMG_0883.JPG
IMG_0807.JPG                IMG_0749.JPG                    IMG_0752.JPG   IMG_0905.JPG   IMG_0829.JPG
IMG_0762.JPG                IMG_0857.JPG                    IMG_0837.JPG   IMG_0821.JPG   IMG_0855.JPG
IMG_0800.JPG                IMG_0886.JPG                    IMG_0783.JPG   IMG_0795.JPG   IMG_0884.JPG
IMG_0765.JPG                IMG_0791.JPG                    IMG_0755.JPG   IMG_0826.JPG   IMG_0779.JPG
IMG_0872.JPG                IMG_0825.JPG                    IMG_0830.JPG   IMG_0792.JPG   IMG_0860.JPG
IMG_0875.JPG                IMG_0859.JPG                    IMG_0784.JPG   IMG_0902.JPG   IMG_0867.JPG
IMG_0809.JPG                IMG_0888.JPG                    IMG_0893.JPG   IMG_0803.JPG   IMG_0869.JPG
IMG_0891.JPG                IMG_0901.JPG                    IMG_0842.JPG   IMG_0766.JPG   IMG_0770.JPG
IMG_0840.JPG                IMG_0906.JPG                    IMG_0839.JPG   IMG_0878.JPG   IMG_0815.JPG
IMG_0759.JPG                IMG_0796.JPG                    IMG_0894.JPG   IMG_0804.JPG   IMG_0777.JPG
IMG_0788.JPG                IMG_0822.JPG                    IMG_0845.JPG   IMG_0761.JPG   IMG_0812.JPG
IMG_0896.JPG                IMG_0756.JPG                    IMG_0769.JPG   IMG_0876.JPG


Discovery from BIS\Interviews\Mahmood AL TAYYAR
Name
10-08-2020 Interview of Mahmood AL TAYYAR part 1 of 4.WMA
10-08-2020 Interview of Mahmood AL TAYYAR part 2 of 4.WMA
10-08-2020 Interview of Mahmood AL TAYYAR part 4 of 4.WMA
10-08-2020 Interview of Mahmood AL TAYYAR part 3 of 4.WMA
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Discovery from BIS\Interviews\Nihad AL JABERI
Name
201008_0630.mp3


Discovery from BIS\Interviews\Mustafa KAREEM
Name
Mustafa KAREEM Interview.MP3


Discovery from BIS\Interviews\Ahmed AL TAYYAR
Name
10-08-2020 Interview of Ahmed AL TAYYAR and Maryan AL TAYYAR.WMA


Discovery from BIS\Interviews\Fiasal SULEMAN
Name
Fiasal SULEIMAN Interview.MP3


Discovery from BIS\Interviews\Ashraf TAHA
Name
Ashraf TAHA Interview.MP3


Discovery from BIS\Interviews\Ahmed and Maryan AL TAYYAR
Name
10-08-2020 Interview of Ahmed AL TAYYAR and Maryan AL TAYYAR.WMA


Discovery from BIS\Interviews\Kyle HILL
Name
10-14-2020 Call from Kyle HILL to SA Gray.WMA
10-14-2020 Interview of Kyle HILL.WMA


ROIs
Name
ROI 4 Ashraf TAHA Interview Outreach.pdf
ROI 3 Interview Mustafa Fiasal.pdf
Tigris Hawk ROI 7signed.pdf
Tigris Hawk ROI 1 signed.pdf
ROI 5 Interview Outreach North Atlantic Inc.pdf
Tigris Hawk ROI 6 interview of Nihad AL JABERI attacments incl.pdf


Reports\Reports Item #36 AL JABARI
Name
CellebriteReader.exe
EvidenceCollection_2020-10-19_Report.ufdr


Reports\Reports Item #35 AL JABARI
Name
EvidenceCollection_2020-10-16_Report.ufdr
CellebriteReader.exe


Reports\Reports Item #24 AL TAYYAR iPad
Name
EvidenceCollection_2020-10-13_Report.ufdr
CellebriteReader.exe


Reports\Reports Item #26 AL TAYYAR
Name
CellebriteReader.exe
EvidenceCollection_2020-10-10_Report.ufdr
        Case 4:21-cr-00031-RSB-CLR Document 26-1 Filed 04/09/21 Page 4 of 5




Reports\Reports Item #7 TAHA
Name
EvidenceCollection_2020-11-17_Report.ufdr
CellebriteReader.exe


Reports\Reports Item #11 KAREEM
Name
CellebriteReader.exe
EvidenceCollection_2021-01-14_Report.ufdr


Reports\Reports Item #25 AL TAYYAR
Name
EvidenceCollection_2020-10-12_Report.ufdr
CellebriteReader.exe


Mahmood Al Tayyar's Bank Statement
Name
Page from bank statement.docx


GJ Transcript
Name
AL JABERI, NIHAD.JGS.GJ.02.02.21.pdf


Discovery from ATF
Name
BF6ED28F.tmp
760540-20-0077 ROI 001 - 007.pdf
760540-20-0077 ROI #012.pdf
760540-20-0077 ROI #008.pdf
760540-20-0077 ROI #020.pdf
760540-20-0077 ROI #027.pdf
760540-20-0077 ROI #029.pdf
760540-20-0077 ROI #013 Translations.docx
760540-20-0077 ROI #028.pdf
760540-20-0077 ROI #026.pdf
760540-20-0077 ROI #021.pdf
760540-20-0077 ROI #014.pdf
760540-20-0077 ROI #022.pdf
760540-20-0077 ROI #025.pdf
760540-20-0077 ROI #010.pdf
760540-20-0077 ROI #017.pdf
760540-20-0077 ROI #019.pdf
760540-20-0077 ROI #018.pdf
760540-20-0077 ROI #016.pdf
760540-20-0077 ROI #011.pdf
760540-20-0077 ROI #024.pdf
760540-20-0077 ROI #023.pdf
760540-20-0077 ROI #009.pdf


Int. of Eugene McNair
Name
01-28-2021 Interview of Eugene MCNAIR.WMA


Translation of Text Messages
Name
760540-20-0077 Text messages between AL TAYYAR and AL JABERI-FINAL.pdf


Int. of Al Jaberi
Name
02-18-2021 Interview of Nihad AL JABERI.WMA


Undercover Meet
Name
       Case 4:21-cr-00031-RSB-CLR Document 26-1 Filed 04/09/21 Page 5 of 5



TAYYAR_convo_with_JABERI.001.cam1.avi


Undercover Meet\Translation of UC Meet
Name
760540-20-0077 TAYYAR_convo_with_JABERI.001.cam1.pdf
